         Case 22-33553 Document 743 Filed in TXSB on 06/28/24 Page 1 of 11




                   IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

In re:                                             §   Chapter 7
                                                   §
ALEXANDER E. JONES                                 §   Case No. 22-33553
                                                   §
         Debtor.                                   §


SUMMARY COVER SHEET TO THE FINAL FEE APPLICATION OF BLACKBRIAR
 ADVISORS LLC AS FINANCIAL ADVISOR TO THE DEBTOR FOR THE PERIOD
           FROM DECEMBER 02, 2022, THROUGH JUNE 14, 2024

   Name of Applicant:                                              BLACKBRIAR ADVISORS, LLC
   Applicant’s Role in Case:                                Financial Advisor
   Date Order of Employment Signed:                                  January 20, 2023
                                                           Beginning Date               End Date
   Time period covered by this Application                   12/02/2022                 06/14/2024
   Time period(s) covered by prior Applications:             12/02/2022                 11/30/2023
   Total fees requested in this Application:                                              $1,568,205.00
   Total professional fees requested in this Application                                  $1,568,205.00
   Total actual professional hours covered by this Application:                                3,626.75
   Average hourly rate for professionals:                                                       432.40
   Total paraprofessional fees requested in this Application:                                        0.00
   Total actual paraprofessional hours covered by this Application:                                  0.00
   Average hourly rate for paraprofessionals:                                                        0.00
   Reimbursable expenses sought in this application:                                       $105,087.82
   Total to be Paid to Priority Unsecured Creditors:                                                 N/A
   Anticipated % Dividend to Priority Unsecured Creditors:                                           N/A
   Total to be Paid to General Unsecured Creditors:                                                  N/A
   Anticipated % Dividend to General Unsecured Creditors:                                            N/A
   Date of Confirmation Hearing:                                                                     N/A
   Indicate whether plan has been confirmed:                                                         No.




FINAL FEE APPLICATION – Page 1
         Case 22-33553 Document 743 Filed in TXSB on 06/28/24 Page 2 of 11




                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION
In re:                                           §    Chapter 7
                                                 §
ALEXANDER E. JONES                               §    Case No. 22-33553
                                                 §
         Debtor.                                 §

              FINAL FEE APPLICATION OF BLACKBRIAR ADVISORS, LLC
              AS FINANCIAL ADVISOR TO THE DEBTOR FOR THE PERIOD
                  FROM DECEMBER 02, 2022, THROUGH JUNE 14, 2024
         If you object to the relief requested, you must respond in writing. Unless
         otherwise directed by the Court, you must file your response electronically at
         https://ecf.txsb.uscourts.gov/ within twenty-one days from the date this motion
         was filed. If you do not have electronic filing privileges, you must file a written
         objection that is actually received by the clerk within twenty-one days from
         the date this application was filed. Otherwise, the Court may treat the pleading
         as unopposed and grant the relief requested.
         Pursuant to §§ 327, 330, and 331 of title 11 of the United States Code (the “Bankruptcy

Code”), Rule 2016 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and

Rule 2016-1 of the Bankruptcy Local Rules for the Southern District of Texas (the “Bankruptcy

Local Rules”) BlackBriar Advisors, LLC (“BlackBriar”), as financial advisor to the Debtor, hereby

files its Final Fee Application of BlackBriar Advisors, LLC to the Debtor for Allowance and

Payment of Fees and Expenses for the Period From December 02, 2022 Through June 14, 2024

(the “Application”).

                                 I.      RELIEF REQUESTED

         1.     BlackBriar requests that the Court enter an order allowing BlackBriar’s

compensation for professional services rendered during December 02, 2022, through June 14, 2024

(the “Application Period”) for (a) $1,568,205.00 for professional fees and services provided during

the Application Period, and (b) $105,087.82 for reimbursement of actual and necessary expenses

incurred by BlackBriar.



FINAL FEE APPLICATION – Page 2
       Case 22-33553 Document 743 Filed in TXSB on 06/28/24 Page 3 of 11




                                    II.    JURISDICTION

       2.      The United States Bankruptcy Court for the Southern District Texas (the “Court”)

has jurisdiction over this matter pursuant to 28 U.S.C. § 1334. This is a core proceeding pursuant

to 28 U.S.C. § 157(b).

       3.      Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

       4.      The basis for the relief requested herein is § 330 of the Bankruptcy Code,

Bankruptcy Rule 2016, and Bankruptcy Local Rule 2016-1.

                          III.    PROCEDURAL BACKGROUND

       5.      On December 02, 2022, Alexander E. Jones (the “Debtor”) filed a voluntary

petition for relief under Chapter 11 of title 11 of the Bankruptcy Code. The Debtor is an employee

of Free Speech Systems, LLC (“FSS”). FSS filed its voluntary petition for relief under chapter 11

of the Bankruptcy Code on July 29, 2022.

       6.      On December 29, 2022, the Debtor filed his Application for Entry of an Order

Authorizing the Retention and Employment of Blackbriar Advisors LLC as Debtor’s Financial

Advisor Effective as of the Petition Date (the “Retention Application”) [Dkt. No. 82].

       7.      On January 20, 2023, the Court entered its Order Granting Application for Entry

of an Order Authorizing the Retention and Employment of Blackbriar Advisors LLC as Debtor’s

Financial Advisor Effective as of the Petition Date (the “Retention Order”) [Dkt. No. 112].

       8.      After approximately eighteen months of attempting to work through the Chapter 11

process and reach an agreement with creditors that would result in a successful plan of

reorganization, the Debtor realized that such an agreed path forward would be impossible. Thus,

on or about June 14, 2024, at the Debtor’s request, the Court entered an Order converting the

Debtor’s Chapter 11 Case to one under Chapter 7 of the Bankruptcy Code [Dkt. No. 708].




FINAL FEE APPLICATION – Page 3
        Case 22-33553 Document 743 Filed in TXSB on 06/28/24 Page 4 of 11




        9.      BlackBriar performed services throughout the Application Period for which it is

seeking compensation on behalf of the Debtor and his estate, and not on behalf of any committee,

creditor, or other entity.

        10.     Except as set forth in the Retention Application regarding payments paid to

BlackBriar from The Missouri779384 Trust, BlackBriar has received no retainers and no promises

for payment from any other source other than The Missouri779384 Trust and the Debtor for

services provided or to be provided in any capacity whatsoever in connection with this Chapter 11

Case.

        11.     BlackBriar has not shared, nor has BlackBriar agreed to share (a) compensation it

has received or may receive with any other party or person other than the employees or members

of BlackBriar or (b) any compensation another person or party has received or may receive.

        12.     On January 20, 2023, the Court entered the Order Granting Motion for Entry of an

Order Establishing Procedures for Interim Compensation and Reimbursement of Expenses for

Chapter 11 Professionals [Dkt. No. 106] (the “Interim Compensation Order”), setting forth the

procedures for Court approved professionals, including BlackBriar, to serve monthly fee

statements (each, a “Monthly Fee Statement”) on certain parties that include a detailed statement

of services rendered and expenses incurred by each professional for that particular month.

        13.     For the Application Period, BlackBriar has filed the following interim fee

applications (the “Interim Fee Applications”) and the following Monthly Fee Statements:

                a. First Monthly Fee Statement of BlackBriar Advisors LLC for Allowance of

                    Compensation for Services Rendered as Financial Advisor to the Debtor for the

                    Period from December 2, 2022 Through December 31 2022 (the “First Monthly

                    Fee Statement”) [Dkt. No. 131];




FINAL FEE APPLICATION – Page 4
     Case 22-33553 Document 743 Filed in TXSB on 06/28/24 Page 5 of 11




           b. Second Monthly Fee Statement of BlackBriar Advisors LLC for Allowance of

              Compensation for Services Rendered as Financial Advisor to the Debtor for the

              Period from January 1, 2023 Through January 31 2023 (the “Second Monthly

              Fee Statement”) [Dkt. No. 194];

           c. Third Monthly Fee Statement of BlackBriar Advisors LLC for Allowance of

              Compensation for Services Rendered as Financial Advisor to the Debtor for the

              Period from February 1, 2023 Through February 28, 2023 (the “Third Monthly

              Fee Statement”) [Dkt. No. 237];

           d. Fourth Monthly Fee Statement of BlackBriar Advisors LLC for Allowance of

              Compensation for Services Rendered as Financial Advisor to the Debtor for the

              Period from March 1, 2023 Through March 31, 2023 (the “Fourth Monthly Fee

              Statement”) [Dkt. No. 259];

           e. First Interim Fee Application of BlackBriar Advisors LLC. as Financial

              Advisor to the Debtor for the Fee Period from December 2, 2022 Through May

              15, 2023 (the “First Interim Fee Application”) [Dkt. No. 307];

           f. Fifth Monthly Fee Statement of BlackBriar Advisors LLC for Allowance of

              Compensation for Services Rendered as Financial Advisor to the Debtor for the

              Period from May 16, 2022 Through May 31, 2023 (the “Fifth Monthly Fee

              Statement”) [Dkt. No. 430];

           g. Sixth Monthly Fee Statement of BlackBriar Advisors LLC for Allowance of

              Compensation for Services Rendered as Financial Advisor to the Debtor for the

              Period from June 1, 2023 Through June 30, 2023 (the “Sixth Monthly Fee

              Statement”) [Dkt. No. 431];




FINAL FEE APPLICATION – Page 5
     Case 22-33553 Document 743 Filed in TXSB on 06/28/24 Page 6 of 11




           h. Seventh Monthly Fee Statement of BlackBriar Advisors LLC for Allowance of

              Compensation for Services Rendered as Financial Advisor to the Debtor for the

              Period from July 1, 2023 Through August 31, 2023 (the “Seventh Monthly Fee

              Statement”) [Dkt. No. 442];

           i. Eighth Monthly Fee Statement of BlackBriar Advisors LLC for Allowance of

              Compensation for Services Rendered as Financial Advisor to the Debtor for the

              Period from September 1, 2023 Through September 30, 2023 (the “Eighth

              Monthly Fee Statement”) [Dkt. No. 487];

           j. Ninth Monthly Fee Statement of BlackBriar Advisors LLC for Allowance of

              Compensation for Services Rendered as Financial Advisor to the Debtor for the

              Period from October 1, 2023 Through November 30, 2023 (the “Ninth Monthly

              Fee Statement”) [Dkt. No. 522];

           k. Second Interim Fee Application of BlackBriar Advisors LLC. as Financial

              Advisor to the Debtor for the Fee Period from May 16, 2023 Through November

              30, 2023 (the “Second Interim Fee Application”) [Dkt. No. 524];

           l. Tenth Monthly Fee Statement of BlackBriar Advisors LLC for Allowance of

              Compensation for Services Rendered as Financial Advisor to the Debtor for the

              Period from December 1, 2023 Through January 31, 2024 (the “Tenth Monthly

              Fee Statement”) [Dkt. No. 631];

           m. Eleventh Monthly Fee Statement of BlackBriar Advisors LLC for Allowance of

              Compensation for Services Rendered as Financial Advisor to the Debtor for the

              Period from February 1, 2024 Through March 31, 2024 (the “Eleventh

              Monthly Fee Statement”) [Dkt. No. 667];




FINAL FEE APPLICATION – Page 6
        Case 22-33553 Document 743 Filed in TXSB on 06/28/24 Page 7 of 11




                n. Twelfth Monthly Fee Statement of BlackBriar Advisors LLC for Allowance of

                   Compensation for Services Rendered as Financial Advisor to the Debtor for the

                   Period from April 1, 2024 Through April 30, 2024 (the “Twelfth Monthly Fee

                   Statement”) [Dkt. No. 671];

                o. Thirteenth Monthly Fee Statement of BlackBriar Advisors LLC for Allowance

                   of Compensation for Services Rendered as Financial Advisor to the Debtor for

                   the Period from May 1, 2024 Through May 31, 2024 (the “Thirteenth Monthly

                   Fee Statement”) [Dkt. No. 683].

        14.     Each Interim Fee Application was granted without objection and has been paid in

full to date.

        15.     BlackBriar has submitted monthly fee statements for the period following the

Second Interim Fee Application and has received payments on 80% of the fees and 100% of the

expenses requested in those monthly fee statements.

        16.     Attached hereto as Exhibit “A” are the invoices for professional services rendered

to the Debtor by BlackBriar during the Application Period. The invoices itemize the services

rendered in a format that reflects a description of each service entry, the amount of time spent in

rendering the service, the date the service was performed, who performed the service, and the

hourly rate of the person performing the service. Exhibit A reflects reasonable time and expenses

incurred in this case for the Application Period.

        17.     An analysis of the twelve factors affecting the reasonableness of professional fees

as set forth in In the Matter of First Colonial Corp. of America, 544 F. 2d 1291 (5th Cir. 1977),

cert. denied, 97 S. Ct. 1696 (1977), aids the Court’s determination of matters affecting

compensation.




FINAL FEE APPLICATION – Page 7
     Case 22-33553 Document 743 Filed in TXSB on 06/28/24 Page 8 of 11




           a. Customary fee. The fees charged are customary and usual fees charged by

              BlackBriar and similar firms in the Houston geographical area for the services

              rendered by the professionals involved.

           b. Contingent nature of fee. This was not a factor in this case.

           c. Time limitations imposed by the client or other circumstances. This case

              presented time limitations due to the need for certain claims and potential

              claims to be investigated quickly. BlackBriar was also required to work around

              the Debtor’s recording schedule. BlackBriar was also required to carefully

              allocate resources in order to attempt to field the vast number of requests from

              Plaintiffs and UCC counsel.

           d. Experience, reputation, and ability of attorneys. BlackBriar is well-recognized

              in the community for its business and financial expertise and abilities in

              bankruptcy and business litigation matters.

           e. Undesirability of the case. This was an undeniable factor in this case.

              BlackBriar entered this case and was burdened with inaccurate or nonexistent

              financial and asset records that dated back over twenty years. The efforts to

              construct financial information and supporting documentation required

              extensive time and effort of multiple BlackBriar professionals. In addition,

              during the process, BlackBriar endured extensive demands for immediate

              information based on sloppy and inaccurate press reporting, unfounded

              accusations and assumptions from opposing counsel and unlevel playing field

              because of the parties involved in this case.




FINAL FEE APPLICATION – Page 8
       Case 22-33553 Document 743 Filed in TXSB on 06/28/24 Page 9 of 11




               f. Nature, length, and professional relationship with client. BlackBriar has an

                   ongoing professional relationship with the Debtor.

               g. Awards in similar cases. BlackBriar relies on the Court’s expertise and

                   knowledge with respect to fee awards in cases. In BlackBriar’s experience, the

                   fees requested in this Application are comparable and likely less than those in

                   cases similar in subject matter and complexity. However, it is unlikely the Court

                   will find many “similar” cases.

               h. Results obtained. BlackBriar performed thorough investigations and created a

                   bookkeeping system for the Debtor, participated in multiple Rule 2004

                   Examinations, collected, organized, and reviewed thousands of documents and

                   records from multiple sources, assisted in the preparation of the Debtor’s

                   monthly operating reports, as well as participating in two mediations and the

                   drafting of projections and liquidation analyses for plans of reorganization, as

                   well as review of various creditor plans. Falling short of a successful

                   reorganization in this case was not for a lack of trying or good faith on the part

                   of the Debtor or BlackBriar.

 IV.     REIMBURSEMENT FOR THE PREPARATION OF THE FEE APPLICATION

       18.     Under the Fifth Circuit decision of In re First Colonial Corporation of America,

544 F.2d 1291 (5th Cir.) cert. denied 97 S. Ct. 1696 (1977), and subsequent Fifth Circuit decisions

detailed applications for compensation are mandated. In 1980, in Rose Pass Mines v. Howard, 615

F.2d 1088, the Fifth Circuit condoned the practice of compensating professionals for their efforts

in providing the courts and creditors with the required detailed applications.




FINAL FEE APPLICATION – Page 9
      Case 22-33553 Document 743 Filed in TXSB on 06/28/24 Page 10 of 11




       WHEREFORE, BLACKBRIAR ADVISORS, LLC respectfully requests that the Court:

approve this Application; find that the fees requested in this Application are actual and necessary

for the reasons set forth herein; award BlackBriar (a) $1,568,205.00 for professional fees and

services provided during the Application Period and (b) $105,087.82 for reimbursement of actual

and necessary expenses incurred by BlackBriar; and for such other and further relief as the Court

deems just.

Dated: June 28, 2024
                                         BLACKBRIAR ADVISORS, LLC

                                         By: /s/ Robert Schleizer
                                         Robert Schleizer
                                         2626 Cole Ave., Suite 300
                                         Dallas, TX 75201
                                         Telephone: 214-599-8600
                                         Email: bschleizer@blackbriaradvisors.com
                                         FINANCIAL ADVISORS FOR DEBTOR
                                         ALEXANDER E. JONES

                                         /s/ Christina W. Stephenson
                                         CROWE & DUNLEVY, P.C.
                                         Vickie L. Driver
                                         State Bar No. 24026886
                                         Christina W. Stephenson
                                         State Bar No. 24049535
                                         2525 McKinnon St., Suite 425
                                         Dallas, TX 75201
                                         Telephone: 737.218.6187
                                         Email: dallaseservice@crowedunlevy.com

                                         ATTORNEYS FOR DEBTOR
                                         ALEXANDER E. JONES, filing on behalf of estate
                                         professionals




FINAL FEE APPLICATION – Page 10
      Case 22-33553 Document 743 Filed in TXSB on 06/28/24 Page 11 of 11




                               CERTIFICATE OF SERVICE

       I hereby certify that on the 28th day of June, 2024 a copy of the foregoing was served via

the Court’s ECF system upon all parties receiving notice through same.



                                            /s/ Christina W. Stephenson
                                            Christina W. Stephenson




FINAL FEE APPLICATION – Page 11
